          Case 23-11779-pmm                     Doc   Filed 07/29/24 Entered 07/29/24 16:55:29                         Desc Main
                                                      Document      Page 1 of 7
Fill in this information to identify the case

Debtor 1 Kerianne Cichonski

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: EASTERN District of PENNSYLVANIA
                                                                        (State)
Case number 23-11779


Official Form 410S1
Notice of Mortgage Payment Change                                                                                             12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
Name of creditor              CrossCountry Mortgage                                 Court claim no. (if known)            7
                                                                                    Date of payment change
Last four digits of any number                                                      Must be at least 21 days after date of        9/1/2024
you use to identify the debtor's                                                    this notice
account:                               8334
                                                                                    New total payment:
                                                                                    Principal, interest, and escrow, if any       $1,380.91
Part 1:           Escrow Account Payment Adjustment

  1.   Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $441.17      New escrow payment:      $460.02

Part 2:           Mortgage Payment Adjustment

  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:                             %           New interest rate:                                  %

           Current principal and interest payment: $                      New principal and interest payment: $

Part 3:           Other Payment Change

  3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
           agreement. (Court approval may be required before the payment change can take effect)

           Reason for change:

           Current mortgage payment: $                                    New mortgage payment: $




24-002795_SJW
                  Case 23-11779-pmm                       Doc      Filed 07/29/24 Entered 07/29/24 16:55:29              Desc Main
                                                                   Document      Page 2 of 7
     Debtor 1          Kerianne Cichonski                                         Case number (if known) 23-11779
                 First Name                      Middle Name         Last Name



     Part 4:              Sign Here

       The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
       number.
       Check the appropriate box.
                I am the creditor.
                I am the creditor's authorized agent.

       I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
       knowledge, information, and reasonable belief.

       X          /s/ Adam B. Hall                                                     Date
                                                                                                   07/29/2024
           Signature

       Print:                        Adam B. Hall                                      Title    Attorneys for Creditor

       Company                 Manley Deas Kochalski LLC

       Address                 P.O. Box 165028
                              Number             Street

                               Columbus, OH 43216-5028
                              City                         State       ZIP Code

       Contact phone            614-220-5611                                           Email     amps@manleydeas.com



A delay occurred in performing the Debtor’s escrow analysis and an escrow shortage was identified. Due to the untimely performance of the escrow
analysis, the escrow shortage has been designated as non-recoverable from the Debtor and will show as a credit on the Debtor’s escrow account.
The total escrow shortage listed in the statement is considered paid in full. The correct payment components and total payment amount are reflected
on the official Notice of Mortgage Payment Change form.




     24-002795_SJW
Case 23-11779-pmm          Doc      Filed 07/29/24 Entered 07/29/24 16:55:29             Desc Main
                                    Document      Page 3 of 7



                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                :
                                      : Case No.: 23-11779
Kerianne Cichonski                    : Chapter 13
                                      : Judge Patricia M. Mayer
                            Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                      :
CrossCountry Mortgage                 : Related Document #
                             Movant, :
       vs                             :
                                      :
Kerianne Cichonski                    :
Michael Cichonski                     :
Kenneth E. West                       :
                         Respondents. :

                                 CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Notice of Payment Change was

filed electronically. Notice of this filing will be sent to the following parties through the Court's

Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Kenneth E. West, Chapter 13 Trustee, ecfemails@ph13trustee.com

   MICHAEL A. CIBIK, Attorney for Kerianne Cichonski, help@cibiklaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   Kerianne Cichonski, 10005 Westbourne Place, Philadelphia, PA 19114-1522


                                                         /s/ Adam B. Hall




24-002795_SJW
Case 23-11779-pmm   Doc   Filed 07/29/24 Entered 07/29/24 16:55:29   Desc Main
                          Document      Page 4 of 7
Case 23-11779-pmm   Doc   Filed 07/29/24 Entered 07/29/24 16:55:29   Desc Main
                          Document      Page 5 of 7
Case 23-11779-pmm   Doc   Filed 07/29/24 Entered 07/29/24 16:55:29   Desc Main
                          Document      Page 6 of 7
Case 23-11779-pmm   Doc   Filed 07/29/24 Entered 07/29/24 16:55:29   Desc Main
                          Document      Page 7 of 7
